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                                        DAVID LEE MILLER                              10/21/2019




          · · · · · ·UNITED STATES DISTRICT COURT

          · · · · · WESTERN DISTRICT OF LOUISIANA

          · · · · · · · ·SHREVEPORT DIVISION



          MAGNOLIA ISLAND PLANTATION, :·             CIVIL ACTION
          L.L.C., BARBARA MARIE· · · ·:·             NO. 5:18-cv-01526
          CAREY LOLLAR· · · · · · · · :
          · · · · · · · · · · · · · · :
          VERSUS· · · · · · · · · · · :·             DISTRICT JUDGE
          · · · · · · · · · · · · · · :·             ELIZABETH FOOTE
          LUCKY FAMILY, L.L.C.,· · · ·:
          W.A. LUCKY, III, AND· · · · :
          BOSSIER SHERIFF JULIAN· · · :
          C. WHITTINGTON, IN HIS· · · :·             MAGISTRATE JUDGE
          OFFICIAL CAPACITY· · · · · ·:·             KAREN HAYES




          · · · · · DEPOSITION OF DAVID LEE MILLER

          · · · · · · · · October 21, 2019




          Reported By:
          Jayne M. Reeves, CCR


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                                        EXHIBIT 1
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    ·1· ·affects the date you choose other than service
    ·2· ·and publication?
    ·3· · · · A.· ·There could be a number of things.
    ·4· ·There may be a bankruptcy filing.· And in that
    ·5· ·case, we would contact the plaintiff's attorney,
    ·6· ·let them know that we had received it.· Sometimes
    ·7· ·we'll get a call from the plaintiff's attorney
    ·8· ·putting the suit on hold for whatever reason.
    ·9· · · · Q.· ·What role do appraisals have in this
    10· ·process?
    11· · · · A.· ·Appraisals, if it's -- if those writs
    12· ·are received and they're with benefit of
    13· ·appraisement, then when we serve a notice of
    14· ·seizure.· We also serve a notice of appraiser.
    15· ·Appoint an appraiser.· And then the plaintiff and
    16· ·the defendant both get an opportunity to provide
    17· ·us with appraisers' names.
    18· · · · Q.· ·So you'll receive an appraisal -- or
    19· ·you provide the opportunity -- excuse me.· Strike
    20· ·that.
    21· · · · · · ·You provide the opportunity for both
    22· ·the plaintiff and the other party to submit
    23· ·appraisals?
    24· · · · A.· ·That's right.
    25· · · · Q.· ·And if both parties submit those, what

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    ·1· ·happens next?
    ·2· · · · A.· ·If they both submit and there's a
    ·3· ·greater difference than 10 percent between the
    ·4· ·two appraisals, then a referee appraisal has to
    ·5· ·be gotten.
    ·6· · · · Q.· ·Define referee appraisal.
    ·7· · · · A.· ·Well, it's the third appraisal that we
    ·8· ·would use to create the beginning bid.
    ·9· · · · Q.· ·Why is it referred to as a referee
    10· ·appraisal?
    11· · · · A.· ·No particular reason.· A third
    12· ·appraisal is what it's called sometimes.
    13· · · · Q.· ·You said that this third appraisal or
    14· ·referee appraisal comes into play when there is a
    15· ·more than 10 percent difference between the first
    16· ·two appraisals.· Correct?
    17· · · · A.· ·Correct.
    18· · · · Q.· ·What is the purpose of the third
    19· ·appraisal?
    20· · · · A.· ·The third appraisal takes the place of
    21· ·the average between the other two.
    22· · · · Q.· ·I understand what it does.· I guess I'm
    23· ·asking what its purpose is.
    24· · · · A.· ·Well, you take -- well, there's the
    25· ·average appraisal between the first two or the

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    ·1· ·This is an e-mail dated September 17, 2018, also
    ·2· ·from Kim to Mr. Shelton.· If you would take a
    ·3· ·look at that real quick.
    ·4· · · · A.· ·Okay.
    ·5· · · · Q.· ·Okay.· Kim is asking Mr. Shelton for a
    ·6· ·third appraiser; is that correct?
    ·7· · · · A.· ·Yes.
    ·8· · · · Q.· ·Earlier you said it was the sheriff's
    ·9· ·office that chooses the third appraiser.
    10· · · · A.· ·Yes.
    11· · · · Q.· ·But this is the judgment creditor's
    12· ·attorney being asked to choose.· Correct?
    13· · · · A.· ·Yes.
    14· · · · Q.· ·What was the reason for that deviation
    15· ·in this suit?
    16· · · · A.· ·Because of the highly technical
    17· ·appraiser that we needed.
    18· · · · Q.· ·Explain that to me a little more so
    19· ·that we can discuss it.
    20· · · · A.· ·Well, an appraiser that would appraise
    21· ·an instrument like this is not -- they have to
    22· ·have certain credentials to be able to do that.
    23· · · · Q.· ·And you're referring to the promissory
    24· ·note.· Correct?
    25· · · · A.· ·Yes.

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    ·1· · · · Q.· ·Mr. Curtis Shelton.
    ·2· · · · A.· ·And that's also who I call the
    ·3· ·plaintiffs' attorney?
    ·4· · · · Q.· ·That's correct, I believe.
    ·5· · · · A.· ·There's going to be a great deal of
    ·6· ·communications in there with the plaintiffs'
    ·7· ·attorney.
    ·8· · · · Q.· ·Okay.· And so did the sheriff's office
    ·9· ·provide any background information to Mr. Lacour
    10· ·for him to make his appraisal?
    11· · · · A.· ·I don't know.
    12· · · · Q.· ·Who would know that?
    13· · · · A.· ·Ms. Flournoy.
    14· · · · Q.· ·Did you see any indication in the file
    15· ·that you reviewed that the sheriff's office
    16· ·provided any information to Mr. Lacour for the
    17· ·purpose of his appraisal?
    18· · · · A.· ·Not that I recall.
    19· · · · Q.· ·Did the sheriff's office hire
    20· ·Mr. Lacour?
    21· · · · A.· ·Can you rephrase the question?· I don't
    22· ·understand the question.· Did we hire him?
    23· · · · Q.· ·Did you retain Mr. Lacour?
    24· · · · A.· ·Define retain.· I mean, was there a
    25· ·contract between us?· Not that I know of.

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    ·1· · · · Q.· ·Was there any correspondence between
    ·2· ·the sheriff's office and Mr. Lacour requesting
    ·3· ·that he serve as the sheriff's appraiser?
    ·4· · · · A.· ·I'm not sure.· I don't know.
    ·5· · · · Q.· ·Did you see any correspondence in the
    ·6· ·files that you reviewed between the sheriff's
    ·7· ·office and Mr. Lacour requesting that he serve as
    ·8· ·the sheriff's third appraiser?
    ·9· · · · A.· ·Not that I recall.
    10· · · · · · · · · (Miller Deposition Ex. 10 was
    11· ·marked for identification.)
    12· · · · Q.· ·(BY MR. POWELL)· This is Exhibit 10.
    13· ·This is entitled Appraisement Sheet signed by
    14· ·Mr. Chad Garland.· Are you familiar with this
    15· ·document?
    16· · · · A.· ·This form.· Yes.
    17· · · · Q.· ·You're familiar with the form.· Are you
    18· ·familiar with who Mr. Garland is in this matter?
    19· · · · A.· ·He is the appraiser for the plaintiff.
    20· · · · Q.· ·That's correct.· That's what it says
    21· ·there.· Have you reviewed this document before?
    22· · · · A.· ·I believe I reviewed it in the file.
    23· · · · Q.· ·Does this appear to be a correct copy
    24· ·of that document?
    25· · · · A.· ·It appears.

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    ·1· ·earlier -- okay.· I'll move along.
    ·2· · · · Q.· ·(BY MR. POWELL)· You did say earlier
    ·3· ·that the appraisers should do their job.· Right?
    ·4· · · · A.· ·That's right.
    ·5· · · · Q.· ·That's what they're for, is you provide
    ·6· ·them with certain information, but then they do
    ·7· ·their job?
    ·8· · · · A.· ·That's correct.
    ·9· · · · Q.· ·Okay.· Would it be -- would the
    10· ·sheriff's office provide the appraiser -- would
    11· ·it be the sheriff's office role to provide the
    12· ·appraiser with other appraisals on the property?
    13· · · · A.· ·No, sir.
    14· · · · Q.· ·Okay.· Would it be the sheriff's office
    15· ·role to provide the appraiser with any opinion
    16· ·the sheriff's office has about the value of the
    17· ·property?
    18· · · · A.· ·To the appraiser?
    19· · · · Q.· ·Yes.
    20· · · · A.· ·No.
    21· · · · Q.· ·Okay.· Would it be the sheriff's office
    22· ·role to tell the appraiser what he should and
    23· ·shouldn't consider in doing his appraisal?
    24· · · · A.· ·No.
    25· · · · Q.· ·Okay.· And Mr. Shelton went through the

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